 4/2/2019    Case 1:19-cv-01330-SEB-TAB Document 1-1  Filed
                                                  Summary     04/02/19 Page 1 of 37 PageID #: 7
                                                          - MyCase

                   This is not the official court record. Official records of court proceedings may only be obtained directly
                   from the court maintaining a particular record.



    Ronella Kay Campbell v. Towne Park - Indianapolis Marriott Downtown, City of Indianapolis
     Case Number                           49D1 1-1 902-CT-008275

     Court                                 Marion Superior Court, Civil Division 1 1

     Type                                  CT- Civil Tort

     Filed                                 02/28/2019

     Status                                02/28/2019, Pending (active)


    Parties to the Case
    Defendant Towne Park - Indianapolis Marriott Downtown

       Address
       c/o Cogency Global, Inc.
       1 55 East Market Street, Suite 800
       Indianapolis, IN 46204

       Attorney

       Brett T Clayton
       #2706249\ Retained

       8909 Purdue Rd
       Suite 200
       Indianapolis, IN 46268
       317-228-9670(W)


    Defendant      City of Indianapolis

       Address
       c/o Office of Corporation Counsel
       200 East Washington Street
       Indianapolis, IN 46204

       Attorney
       Andrewjonathan Upchurch
       #3077449, Lead, Retained

       200 E Washington ST
       STE1601
       Indianapolis, IN 46204
       317-327-4055(W)


       Attorney
       Andrewjonathan Upchurch
       #3077449, Retained

       200 E Washington ST
       STE 1 601
       Indianapolis, IN 46204
       317-327-4055(W)
                                                                                                                                EXHIBIT

   Plaintiff       Campbell, Ronella Kay
                                                                                                                      J
                                                                                                                      s           E
https://public.courts.in.gOv/mycase/#/vw/CaseSummary/eyJ2ljp7lkNhc2VUb2tlbil6lllqUXhNemt4T1 RFeU1EUXdPakF6TXpNeE1EVXpNbVE9lri19       1/4
 4/2/2019   Case 1:19-cv-01330-SEB-TAB Document 1-1  Filed
                                                 Summary     04/02/19 Page 2 of 37 PageID #: 8
                                                         - MyCase

        Address
        1041 Greenwood Drive
        Perry, GA31069

        Attorney
        Nathan Foushee
        #2488549, Retained

        Ken Nunn Law Office
        104 South Franklin Road
        Bloomington, IN 47404
        81 2-332-9451 (W)




    Chronological Case Summary
     02/28/201 9     Case Opened as a New Filing

     02/28/2019          Appearance Filed
                    Appearance

                     For Party:                    Campbell, Ronella Kay

                    File Stamp:                    02/28/201 9


     02/28/201 9         Complaint/Equivalent Pleading Filed
                    Complaint for Damages

                    Filed By:                      Campbell, Ronella Kay
                    File Stamp:                    02/28/2019


     02/28/2019         Subpoena/Summons Filed
                    Summons to City of Indianapolis

                    Filed By:                     Campbell, Ronella Kay
                    File Stamp:                   02/28/2019


    02/28/2019          Subpoena/Summons Filed
                    Summons to Towne Park - Indianapolis Marriott Downtown

                    Filed By:                     Campbell, Ronella Kay
                    File Stamp:                   02/28/2019


    03/07/201 9         Service Returned Served (E-Filing)
                    Green Card Return for Towne Park - Indianapolis Marriott Downtown

                    Filed By:                     Campbell, Ronella Kay
                    File Stamp:                   03/06/2019


    03/1 1 /201 9       Service Returned Served (E-Filing)
                    Green Card Return showing service on City of Indianapolis

                    Filed By:                     Campbell, Ronella Kay
                    File Stamp:                   03/11/2019


    03/14/2019          Appearance Filed
                    Appearance for Defendant IMD2, LLC, improperly named as Towne Park - Indianapolis Marriott Downtown

                    For Party:                    Towne Park - Indianapolis Marriott Downtown
                    File Stamp:                   03/14/2019




https://public.courts.in.gOv/mycase/#/vw/CaseSummary/eyJ2ljp7lkNhc2VUb2tlbil6lllqUXhNemt4T1 RFeUlEUXdPakF6TXpNeE1EVXpNbVE9ln19   2/4
 4/2/2019    Case 1:19-cv-01330-SEB-TAB Document 1-1  Filed
                                                  Summary    04/02/19 Page 3 of 37 PageID #: 9
                                                          - MyCase


         03/14/201 9         Motion for Enlargement of Time Filed
                         Notice of Automatic Extension of Time

                         Filed By:                     Towne Park - Indianapolis Marriott Downtown
                        File Stamp:                    03/14/2019


        03/21 /201 9         Motion for Leave to Amend Filed
                        Motion to Amend by Interlineation

                        Filed By:                      Campbell Ronella Kay
                        File Stamp:                    03/21/2019


        03/26/2019          Appearance Filed
                        Appearance

                        For Party:                     City of Indianapolis

                        File Stamp:                    03/25/2019


        03/26/2019           Motion for Enlargement of Time Filed
                        Initial Written Motion for Enlargement of Time

                        Filed By:                      City of Indianapolis

                        File Stamp:                    03/25/2019



    Financial Information
    * Financial Balances reflected are current representations of transactions processed by the Clerk's Office. Please note that any

         balance due does not reflect interest that has accrued - if applicable - since the last payment. For questions/concerns regarding
         balances shown, please contact the Clerk's Office.


    Campbell, Ronella Kay
    Plaintiff

    Balance Due {as of 04/02/2019)
   0.00


   Charge Summary
                                                                                                                                             ....




        Description                                                               Amount             Credit              Payment
   I"
   j Court Costs and Filing Fees                                                  157.00             0.00                157.00


   Transaction Summary
   j Date                      Description                                                                                                   1
                                                                                 Amount
        02/28/201 9           Transaction Assessment                              157.00
                                                                                                                                               i
        02/28/2019             Electronic Payment                                (157.00)




                      This is not the official court record. Official records of court proceedings may only be obtained directly
                      from the court maintaining a particular record.




https://public.courts.in.gOv/mycase/#/vw/CaseSummary/eyJ2ljp7lkNhc2VUb2tlbil6lllqUXhNemt4T1RFeU1EUXdPakF6TXpNeE1EVXpNbVE9ln19                       3/4
 4/2/2019   Case 1:19-cv-01330-SEB-TAB Document 1-1  Filed
                                                  Summary    04/02/19 Page 4 of 37 PageID #: 10
                                                          - MyCase




https://public.courts.in.goV/mycase/#/vw/CaseSummary/eyJ2ljp7lkNhc2VUb2tlbil6lllqUXhNemt4T1RFeU1EUXdPakF6TXpNeE1EVXpNbVE9ln19   4/4
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 5 of 37 PageID #: 11
                                          49D1 1 -1 902-CT -008275                                Piled: 2/28/2019 3:58 PM
                                                                                                                    Clerk
                                        Marlon Superior Court, Civil Division 11                  Marion County, Indiana




                                        APPEARANCE FORM (CIVIL)
                                                      Initiating Party




              CAUSE NO:



    1.        Name of first initiating party                 Ronella Kay Campbell
                                                              1041 Greenwood Drive
                                                             Perry, GA 31069



    2.        Telephone of pro se initiating party           NA



    3.        Attorney information (as applicable            Nathan D. Foushee #24885-49
              for service of process)                        Ken Nunn Law Office
                                                             104 South Franklin Road
                                                             Bloomington, IN 47404
                                                             PHONE:                812 332-9451
                                                             FAX:                  812 331-5321
                                                             Email: nathanf@kennunn.com



    4.        Case type requested                            CT (Civil Tort)



    5.        Will accept FAX service                        YES



    6.        Are there related cases                        NO



    7.        Additional information required by
              State or Local Rules



    Continuation of Item 1 (Names of initiating             NAME:
   parties)                                                 NAME:



   Continuation of Item 3 (Attorney information
   as applicable for service of process)
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 6 of 37 PageID #: 12
                                                                                              Filed: 2/28/2019 3:58 PM
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                                                                                                               Clerk
                                      Marion Superior Court, Civil Division 1 1               Marion County, Indiana




STATE OF INDIANA              )                            IN THE MARION                     COURT
                              ) SS:
COUNTY OF MARION              )                            CAUSE NO.


RONELLA KAY CAMPBELL


       VS.


TOWNE PARK - INDIANAPOLIS
MARRIOTT DOWNTOWN and
CITY OF INDIANAPOLIS




                              COMPLAINT FOR DAMAGES


       Comes now the plaintiff, Ronella Kay Campbell, by counsel, Ken Nunn Law Office, and
for cause of action against the defendants, Towne Park - Indianapolis Marriott Downtown and
City of Indianapolis, alleges and says:


       1.     That on or about September 13, 2018, the plaintiff, Ronella Kay Campbell, was
walking to Conner's Restaurant at Towne Park - Indianapolis Marriott Downtown located at
350 West Maryland Street in Indianapolis, Marion County, Indiana, when she tripped and fell
over the uneven concrete of the sidewalk, causing the plaintiff to suffer serious injuries.


       2.     That it was the duty of the defendants to use ordinary care and diligence to keep
and maintain the said premises in a condition reasonably safe for its intended uses and free
from all defects and conditions which would render the premises dangerous and unsafe for
plaintiff, or present an unreasonable risk of harm to plaintiff in her lawful use of same.


       3.    The damages claimed are a result of negligence on the part of the defendants as
follows:


              a.     for negligence in failing to take the proper steps to correct the obvious
                     defects at this location where the above named parties had actual
                     knowledge or notice of a dangerous condition;


              b.     for negligence in design, construction, upkeep, repair and maintenance of
                     this location;


              c.     for negligence in failing to warn pedestrians of any potential hazards
                     including uneven sidewalk and/or walkways;
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 7 of 37 PageID #: 13




                                                 -2-


               d.     for negligence in failing to inspect or discover hazards along a walkway
                      and/or sidewalk;


               e.     for failure to provide a safe walkway and/or sidewalk for the public;


               f.     for failure to warn pedestrians or hazardous, unsafe walkways and/or
                      sidewalks.


       4.      That the aforesaid acts of negligence on the part of the defendants were the
proximate cause of the injuries sustained by the plaintiff.


       5.      That the plaintiff has incurred medical expenses and other special expenses, and
will incur future medical expenses, lost wages and other special expenses, as a direct and
proximate result of defendant's negligence.


       6.     That the plaintiff served Notice of Claim pursuant to I.C. 34-13-3-6, 8, and
10 on or about November 7, 2018, a copy of which is attached hereto as Exhibit A.


       WHEREFORE, the plaintiff demands judgment against the defendants for permanent
injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
and other special expenses, for future medical expenses, lost wages and other special expenses,
court costs, and all other proper relief in the premises.




                                    KEN NUNN LAW OFFICE




                                    BY:    /s/ Nathan D. Foushee
                                           Nathan D. Foushee, #24885-49
                                            KEN NUNN LAW OFFICE
                                            1 04 South Franklin Road
                                            Bloomington, IN 47404
                                            Phone: (812) 332-9451
                                           Fax: (812) 331-5321
                                           E-mail: nathanf@kennunn.com
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 8 of 37 PageID #: 14




                                                 -3-


                             REOUEST FOR TRIAL BY JURY


        Comes now the plaintiff, by counsel, Ken Nunn Law Office, and requests that this


 matter be tried by jury pursuant to Trial Rule 38.


                                    KEN NUNN LAW OFFICE




                                    BY:    /s/ Nathan D. Foushee
                                           Nathan D. Foushee, #24885-49
                                           KEN NUNN LAW OFFICE
                                            1 04 South Franklin Road
                                           Bloomington, IN 47404
                                           Phone: (812)332-9451
                                           Fax: (812) 331-5321
                                           E-mail: nathanf@kennunn.com




Nathan D. Foushee, #24885-49
Ken Nunn Law Office
104 South Franklin Road
Bloomington, IN 47404
Telephone: 812-332-9451
Fax Number:     812-331-5321
Attorney for Plaintiff
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 9 of 37 PageID #: 15
                                                                                                  Filed: 2/28/2019 3:58 PM
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                                                                                                                    Clerk
                                     Marlon Superior Court, Civil Division 1 1                     Marion County, Indiana




                               Ken Nunn Law Office
KEN NUNN                                           Franklin Place                              DEAN ARNOLD
BRAD SMITH                                  104 SOUTH FRANKLIN ROAD                              VICKY NUNN
TROY RIVERA                           BLOOMINGTON, INDIANA 47404-5295                         CHRIS MOELLER
ROM BYRON                                                                                       MIKE HANLEY
NATHAN FOUSHEE                              TEL: 1-800-C all-Ken                                 RYAN ETTER
KEVIN DEVILLE                                FAX: (866) 331-5321                              PHILLIP OLSSON
DANIEL GORE                                                                                       JAMES HURT

                                            November 7, 2018

Attorney General                                              Mayor, City of Indianapolis
State of Indiana                                              Office of Corporation Counsel
302 W. Washington, 5th Floor                                  200 E. Washington Street, Suite 1601
Indianapolis, IN 46204                                        Indianapolis, IN 46204-3372

Governor, State of Indiana                                    Department of Public Works
206 State House                                               City-County Building, Room 2460
Indianapolis, IN 46204-2797                                   200 East Washington Street
                                                              Indianapolis, IN 46204
Indiana Dept. of Insurance
Indiana Political Subdivision                                 Marion County
Risk Management Commission                                    Marion County Commissioners
3 1 1 W. Washington, Suite 300                                City Cty Building, Room 821
Indianapolis, IN 46204                                        Indianapolis, IN 46204

President
Indianapolis City Council
241 City-County Building
200 East Washington Street
Indianapolis, IN 46204


                                      Re:      Notice of Claim


Dear Sir or Madam:


       You are hereby notified, pursuant to the requirements of the Indiana Tort Claims Act,
I.C. 34-13-3-6 and I.C. 34-13-3-8, that Ronella K. Campbell and Gary Campbell, individually
and as husband and wife, intend to take legal action to claim compensation from Marion
County, Marion County Department of Public Works, Marion County Commissioners, the City
of Indianapolis, Indianapolis City Council, and the State of Indiana for damages for loss
suffered by them based on the following statement of facts, circumstances and occurrences:


       1.       The incident occurred on or about September 1 3, 20 1 8.


       2.       The basic facts of the incident are Ronella Kay Campbell was walking to
Conner's Restaurant, that is connected/affiliated with Indianapolis Marrott Downtown Hotel,
located at 350 West Maryland Street, Indianapolis, IN, when she tripped and fell over uneven
concrete on the sidewalk. Ronella Kay Campbell suffered a fractured and dislocated left arm.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 10 of 37 PageID #: 16




                                                  -2-

        3.    The claimant, Ronella Kay Campbell, ha incurred medical expenses and lost
 wages as a result of the incident and will incur future medical expenses and lost wages. The
 claimant, Ronella Kay Campbell, has also experienced physical pain and mental suffering and
 will experience physical pain and mental suffering in the future.


        4.    The claimant, Gary Campbell, has suffered a loss of his wife's services, society
 and companionship as a result of Ronella Kay Campbell's injuries.


        5.    The damages claimed are a direct result of partial negligence on the part
 of Marion County, Marion County Department of Public Works, Marion County
 Commissioners, the City of Indianapolis, Indianapolis City Council, and the State of Indiana, as
 follows:


               a.     for negligence in failing to take the proper steps to correct the obvious
                      defects at this location where the above named parties had actual
                      knowledge or notice of a dangerous condition;


               b.     for negligence in design, construction, upkeep, repair and maintenance of
                      this location;


               c.     for negligence for lack of positive guidance at this location;


               d.     for negligence in failing to warn pedestrians of any potential hazards
                      including uneven sidewalk and/or walkways;


              e.     for negligence in failing to inspect or discover hazards along a walkway
                     and/or sidewalk;


              f.     for failure to provide a safe walkway and/or sidewalk for the public;


              g-     for failure to warn pedestrians or hazardous, unsafe walkways and/or
                     sidewalks.


       6.     Claimants seek damages equal to the statutory maximum amount.


       7.     Persons involved known to the claimant are:


              a.     City of Indianapolis, Indiana;


              b.     Indianapolis City Council;


              c.     State of Indiana;
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 11 of 37 PageID #: 17




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              d.     Marion County;


              e.     Marion County Commissioners;


              f.     Indianapolis Marriott Downtown.


        8.   At the time of the incident and presently, the claimants were and are residents of
 Perry, Houston County, Georgia.


                                          Sincerely,
                                         KEN NUNN LAW OFFICE




                                         BY:     Ken Nunn
                                                 Attorney at Law


 KLN:jz
 Enc.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 12 of 37 PageID #: 18
                                                                                                                       Filed: 2/28/2019 3:58 PM
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                                                                                                                                         Clerk
                                                  Marion Superior Court, Civil Division 11                              Marion County, Indiana



                             CIRCUIT/SUPERIOR COURTS FOR THE COUNTY OF MARION
                                                          STATE OF INDIANA
                                CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                                   INDIANAPOLIS, INDIANA 46204
                                                      TELEPHONE 317 327-4740

Ronella Kay Campbell

                                         Plaintiffs)

                   VS.                                                        No.



Towne Park - Indianapolis Marriott Downtown
and City of Indianapolis

                                         Defendant(s)
                                                               SUMMONS

The State of Indiana to Defendant: City of Indianapolis, c/o Office of Corporation Counsel, 1601 City County Building,
200 East Washington Street, Indianapolis, IN 46204

        You have been sued by the person(s) named "plaintiff' in the court stated above.

        The nature of the suit against you is stated in the complaint which is attached to this document. It also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, within Twenty (20) days, commencing the day
after you receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.

        If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.
                                          >'    COW, r,t-NN
Date:.2/28/2019                                                m   V/v'... (<--                e-'

                                                               tnv\ CLE&K, MARION CIRCUIT/SUPERIOR COURTS
                                 /

NATHAN D. FOUSHEE, #24885-49                   SEAL              l
                                                                 /
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE                  \                          /
104 FRANKLIN ROAD
BLOOMINGTON, IN     47404                  •x^A/DJANK
                                     ACK                  MENT OF SERVICE OF SUMMONS

        A copy of the above summons and a copy of the complaint attached thereto were received by me at
this      day of              ,2019.



                                                                              SIGNATURE OF DEFENDANT

PRAECIPE: I designate the following mode of service to be used by the Clerk.

XX      By certified or registered mail with return receipt to above address.

        By Sheriff delivering a copy of summons and complaint personally to defendant or by leaving a copy of the summons
        and complaint at his dwelling house or usual place of abode with some person of suitable age and discretion residing
        therein.

        By               delivering a copy of summons and complaint personally to defendant or by leaving a copy of the
        summons and complaint at his dwelling house or usual place of abode.

        By serving his agent as provided by rule, statute or valid agreement, to-wit:

                                                         KEN NUNN LAW OFFICE



                                                         BY:    /s/ NATHAN D. FOUSHEE
                                                           ATTORNEY FOR PLAINTIFF
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 13 of 37 PageID #: 19


CERTIFICATE OF MAILING: I certify that on the _ day of                           ^ 2019, 1 mailed a copy of this summons and a copy
of the complaint to each of the defendant(s) by (registered or certified mail requesting a return receipt signed by the addressee
only, addressed to each of said defendant(s) at the address(es) furnished by plaintiff.


           Dated this     day of               , 2019.




                                                                               CLERK, MARION CIRCUIT/SUPERIOR COURTS


RETURN OF SERVICE OF SUMMONS BY MAIL: I hereby certify that service of summons with return receipt requested
was mailed on the        day of                 , 2019, and that a copy of the return of receipt was received by me on the
                day of              , 2019, which copy is attached herewith,




                                                                               CLERK, MARION CIRCUIT/SUPERIOR COURTS


CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL: I hereby certify that on the _day of
     2019,1 mailed a copy of this summons and a copy of the complaint to the defendant(s) by (registered or certified) mail, and
the same was returned without acceptance this            day of              ,2019, and I did deliver said summons and a copy of the
complaint to the Sheriff of MARION County, Indiana.


          Dated this      day of                 ,2019.



                                                                               CLERK, MARION CIRCUIT/SUPERIOR COURTS


RETURN OF SUMMONS: This summons came to hand on the                          day of       , 2019, and I served the same on the          day
of         ,2019.
           1.        By mailing a copy of the summons and complaint personally to                   address


          2.         By delivering a copy of summons and complaint personally to
          3.         By leaving a copy of the summons and complaint at                                        th e dwelling house or
                     usual place of abode of defendant:                                     (Name of Person) and by mailing by first
                     class mail a copy of the summons on the        day of              , 2019 to                            his last
                     known address.
          4.         By serving his agent as provided by rule, statute or valid agreement to-wit:


          5.         Defendant cannot be found in my bailwick and summons was not served.


          And I now return this writ this _ day of                ,2019.



                                                                               SHERIFF or DEPUTY


RETURN ON SERVICE OF SUMMONS: I hereby certify that I have served the within summons:


          1.         By delivery on the _ day of                    2019 a copy of this summons and a copy of the complaint to each
                     of the within named defendant(s)
          2.         By leaving on the       day of                ,2019 for each of the within named defendant(s)
                                                   a copy of the summons and a copy of the complaint at the respective dwelling
                     house or usual place of abode with                                a p erson of suitable age and discretion residing
                     therein whose usual duties or activities include prompt communication of such information to the person
                     served.
          3.                                                                                          an d by mailing a copy of the
                     summons without the complaint to                                                 at
                               the last known address of defendant(s).
          All done in MARION County, Indiana.
Fees: $
                                                                     SHERIFF or DEPUTY
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 14 of 37 PageID #: 20
                                                                                                                        Filed: 2/28/2019 3:58 PM
                                                      49D11-1902-CT-008275
                                                                                                                                          Clerk
                                                 Marion Superior Court, Civil Division 11                               Marion County, Indiana



                              CIRCUIT/SUPERIOR COURTS FOR THE COUNTY OF MARION
                                               STATE OF INDIANA
                                 CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                          INDIANAPOLIS, INDIANA 46204
                                             TELEPHONE 317 327-4740

Ronella Kay Campbell

                                        Plaintiffs)

                    VS.                                                          No.



Towne Park - Indianapolis Marriott Downtown
and City of Indianapolis

                                        Defendant(s)
                                                               SUMMONS

The State of Indiana to Defendant: Towne Park - Indianapolis Marriott Downtown, c/o Cogency Global, Inc., 155 East
Market Street, Suite 800, Indianapolis, IN 46204

         You have been sued by the person(s) named "plaintiff in the court stated above.

         The nature of the suit against you is stated in the complaint which is attached to this document. It also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, within Twenty (20) days, commencing the day
after you receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.

          If you have a claim for relief agjp  ixcajiajntiff arising from the same transaction or occurrence, you must assert it in
your written answer.                        §c0 UNTP*
                                         KSS             6$
                                                          o>>
                                   Y&
Date: 2/28/2019                    7$                                                               A
                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

NATHAN D. FOUSHEE, #24885-49     V>
                                            SEAL                   :
                                                                       j


ATTORNEY FOR PLAINTIFF            \\X                          /
KEN NUNN LAW OFFICE                 X,                        /;
104 FRANKLIN ROAD
BLOOMINGTON, IN      47404
                                   ACKNOWLEDGMENT OF SERVICE OF SUMMONS

         A copy of the above summons and a copy of the complaint attached thereto were received by me at
this       day of              ,2019.



                                                                                 SIGNATURE OF DEFENDANT

PRAECIPE: I designate the following mode of service to be used by the Clerk.

XX       By certified or registered mail with return receipt to above address.

         By Sheriff delivering a copy of summons and complaint personally to defendant or by leaving a copy of the summons
         and complaint at his dwelling house or usual place of abode with some person of suitable age and discretion residing
         therein.

         By               d elivering a copy of summons and complaint personally to defendant or by leaving a copy of the
         summons and complaint at his dwelling house or usual place of abode.

         By serving his agent as provided by rule, statute or valid agreement, to-wit:

                                                        KEN NUNN LAW OFFICE



                                                        BY:   /s/ NATHAN D. FOUSHEE
                                                         ATTORNEY FOR PLAINTIFF
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 15 of 37 PageID #: 21


CERTIFICATE OF MAILING: I certify that on the _ day of                         , 2019, 1 mailed a copy of this summons and a copy
of the complaint to each of the defendant(s) by (registered or certified mail requesting a return receipt signed by the addressee
only, addressed to each of said defendant(s) at the address(es) furnished by plaintiff.


          Dated this     day of               ,2019.



                                                                              CLERK, MARION CIRCUIT/SUPERIOR COURTS


RETURN OF SERVICE OF SUMMONS BY MAIL: I hereby certify that service of summons with return receipt requested
was mailed on the       day of                 , 2019, and that a copy of the return of receipt was received by me on the
               day of              , 2019, which copy is attached herewith.



                                                                              CLERK, MARION CIRCUIT/SUPERIOR COURTS


CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL: I hereby certify that on the _ day of
_, 2019, 1 mailed a copy of this summons and a copy of the complaint to the defendant(s) by (registered or certified) mail, and
the same was returned without acceptance this          day of              ,2019, and I did deliver said summons and a copy of the
complaint to the Sheriff of MARION County, Indiana.


          Dated this     day of                 ,2019.



                                                                              CLERK, MARION CIRCUIT/SUPERIOR COURTS


RETURN OF SUMMONS: This summons came to hand on the                        day of         , 2019, and I served the same on the       day
of        , 2019.
          1.        By mailing a copy of the summons and complaint personally to                  address


          2.        By delivering a copy of summons and complaint personally to
          3.        By leaving a copy of the summons and complaint at                                       th e dwelling house or
                    usual place of abode of defendant:                                     (Name of Person) and by mailing by first
                    class mail a copy of the summons on the       day of                2019 to                             his last
                    known address.
          4.        By serving his agent as provided by rule, statute or valid agreement to-wit:


          5.        Defendant cannot be found in my bailwick and summons was not served.


          And I now return this writ this _ day of              ,2019.



                                                                              SHERIFF or DEPUTY


RETURN ON SERVICE OF SUMMONS: I hereby certify that I have served the within summons:


          1.        By delivery on the _day of                    2019a copy of this summons and a copy of the complaint to each
                    of the within named defendant(s)
          2.        By leaving on the       day of               , 2 0 1 9 for each of the within named defendant(s)
                                                  a c opy of the summons and a copy of the complaint at the respective dwelling
                    house or usual place of abode with                               a p erson of suitable age and discretion residing
                    therein whose usual duties or activities include prompt communication of such information to the person
                    served.
          3.                                                                                        an d by mailing a copy of the
                    summons without the complaint to                                                at
                              the last known address of defendant(s).
          All done in MARION County, Indiana.
Fees: $
                                                                   SHERIFF or DEPUTY
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 16 of 37 PageID #: 22




        I
            Return Receipt Article Number
                                                                         COMPLETE THIS SECTION ON DELIVERY
              w - s
              a                                                 A. Signature
                                                                                                                       CD Agent

              0>
                   9590926699042968410769                       X
                                                                                        v
                                                                                                                       I   I Addressee
                                                                5. Receiveafby (Printed Name)                   C. Pate of Delivery
              0^530 labb tidm a^ba mo?                   b1*                                                          i.
              ^

            2. QprtifittJ Maif' Article Number                  D. is delivery address different from Item 1?              Yes
                                                                   M YES, enter delivery address below:                    No
                                   *1^04     Elba 4 107 bb
            -4E—£
            3. Service Type: CERTIFIED MAIL


            4. Restricted Delivery? (Extra Fee)     I   ) Yes
        . 1. Article Addressed to:




                   Towne Park - Indianapolis Marriott Downtown
                   c/o Cogency Global, Inc.
                   155 East Market, Suite 800
                   Indianapolis, IN 46204

                                                                         hi'

            PS Form 381 1 , Facsimile. July 201 5                                                         Domestic Return Receipt
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 17 of 37 PageID #: 23




                                                                                                              First-Class Mail®-
                         uspM*»OLE                                                                            Postage & Fees Paid
                                                                                                              USPS




               9590926699042968410769
                                                                                                              Permit No. G-1 0




              tstq    iabb tiom    a^ba      mo?       b^

             United States
             Postal Service®   • Sender: Please print your name, address and ZIP+4® below •

                                I.I..II...I.I..I!!   .ili   iliiti.i iiihilitiii iiiiii II II

                                KEN NUNN LAW OFFICE
                                FRANKLIN PL
                                104 S FRANKLIN RD
                                BLOOMINGTON IN 47404-5295
                  /
      !v-~                           J}1 1111t sIMI! * ! 5' iS I^ 55 iih*11Pl* ;IP 1iH 1 ' 1 'S!I 111 !11^' 1! 11
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 18 of 37 PageID #: 24




      I
          Return Receipt Article Number
                                                                         COMPLETE THIS SECTION ON DELIVERY

                                                               A. Signature,
                                                                                                                          *Gferk
                9590926699042968410752                         X
                                                                                                     0
                                                                                                               :ountjQW&ma*>
                                                               B. Received by (Pfinted Name)                   C. Date of Delivery
               1540     32bb 1404         B4bfi   4107   52
                                                                                                                3/iy/f
          2. Certified Mail" Article Number                    0. Is delivery address different from item 1?              Yes
                                                                   If YES, enter delivery address below:                  No
           ^414       72bb ™4             aibB 410? 5^

          3. Service Type: CERTIFIED MAIL

          4. Restricted Delivery? (Extra Fee)            Yes
          1 . Article Addressed to:



              City of Indianapolis
              c/o Office of Corporation Counsel
              1601 City County Building
              200 E. Washington Street
              Indianapolis, IN        46204

             ^                                                           i




          PS Form 3811, Facsimile, July 2015                                                               Oomestic Return Receipt
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 19 of 37 PageID #: 25




                      USPS TRACKING,# .                                                   First-Class Mail®
                                                                                          Postage & Fees Paid
                                                                                          USPS®


             9590926699042968410752
                                                                                          Permit No. G-10




                            iidh aiba      mo?      55


          United States
          Postal Service®    • Sender: Please print your name, address and ZIP+4® below •

                              illllllltllllllif': :!llllllllllllt tllll lull lilt! till
                              KEN NUNN LAW OFFICE
                              FRANKLIN PL
                              104 S FRANKLIN RD
                              BLOOMINGTON IN 47404-5295


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        \j            0'^
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 20 of 37 PageID #: 26
                                                                                               Filed: 3/14/2019 9:06 AM
                                                                                                                   Clerk
                                                                                               Marion County, Indiana




   STATE OF INDIANA              )                IN THE MARION COUNTY SUPERIOR COURT
                                 ) SS:
   COUNTY OF MARION              )                CAUSE NO: 49D1 1-1902-CT-008275



   RONELLA KAY CAMPBELL,                          )
                                                  )
         Plaintiff,                               )
                                                  )
   v.                                             )
                                                  )
   TOWNE PARK - INDIANAPOLIS                      )
   MARRIOTT DOWNTOWN and                          )
   CITY OF INDIANAPOLIS                           )
                                                  )
         Defendants.                              )

                       APPEARANCE BY ATTORNEY IN A CIVIL CASE


   1.    The party on behalf this form is being filed is:


         Initiating              Responding       X           Intervening             ; and


         the undersigned attorney and all attorneys listed on this form now appear in this case for


         the following parties: IMD2. LLC, improperly named as Towne Park - Indianapolis


         Marriott Downtown.


         Attorneys information for service as required by Trial Rule 5(B)(2):


         Name:           Brett T. Clavton               Attorney Number:        27062-49
         Address:        College Park Plaza
                         8909 Purdue Road. Suite 200
                         Indianapolis, IN 46268


         Phone:          13171 854-8231


         Fax:            (3171 228-0943


         Email:          bclavton@reminger.com


   2.    This is a CT case type as defined by administrative Rule 8(B)(3).


   3.    I will accept service by:


                  Fax at the above note number:        Yes           No      X    .


                  Email at the above noted address:    Yes    X      No
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 21 of 37 PageID #: 27




   4.     This case involves child support issues. Yes           No      X


   5.     This case involves a protection from abuse order, a workplace violence restraining order,


          or a no-contact order. Yes            No       X


   6.     This case involves a petition for involuntary commitment. Yes                No        X


   7.     If Yes above, provide the following regarding individual subject to the petition for


          involuntary commitment. N/A.


   8.     There are related cases: Yes          No       X


   9.     Additional information required by local rule: None.


   10.    There are other party members: Yes     X       No


   1 1.   This form has been served on all other parties and Certificate of Service is attached:


          Yes     X      No




                                                Respectfully submitted,



                                                  Is/ Brett T. Clayton
                                                Brett T. Clayton (#27062-49)
                                                REMINGER CO., L.P.A.
                                                College Park Plaza
                                                8909 Purdue Road, Suite 200
                                                Indianapolis, IN 46268
                                                T: 317-854-8231
                                                F: 317-228-0943
                                                bclavton@rcmingcr.com
                                                Attorney for Defendant, IMD2, LLC - Improperly
                                                named as Towne Park - Indianapolis Marriott
                                                Downtown




                                                   2
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 22 of 37 PageID #: 28




                                    CERTIFICATE OF SERVICE


          I hereby certify that the foregoing document has been filed electronically this 14th day of
   March, 2019 via the Court's Electronic Filing System and that notice of this filing will be provided
   to all counsel of record via the Court's Electronic Filing System to:


   Nathan D. Foushee
   KEN NUNN LAW OFFICE
   104 South Franklin Road
   Bloomington, ESI 47404


                                                   Is/ Brett T. Clavton
                                                 Brett T. Clayton (#27062-49)
                                                 REMINGER CO., L.P.A.




                                                   3
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 23 of 37 PageID #: 29
                                                                                                   Filed: 3/14/2019 9:07 AM
                                                                                                                      Clerk
                                                                                                   Marion County, Indiana




   STATE OF INDIANA                )              IN THE MARION COUNTY SUPERIOR COURT
                                   ) SS:
   COUNTY OF MARION                )              CAUSE NO: 49D11-1902-CT-008275



   RONELLA KAY CAMPBELL,                          )
                                                 )
           Plaintiff,                            )
                                                 )
   v.
                                                 )
                                                 )
   TOWNE PARK - INDIANAPOLIS                     )
   MARRIOTT DOWNTOWN and                         )
   CITY OF INDIANAPOLIS                          )
                                                 )
           Defendants.                           )

                              NOTICE OF AUTOMATIC EXTENSION
                        OF TIME TO PLEAD IN RESPONSE TO COMPLAINT


          Defendant, IMD2, LLC, improperly named as Towne Park - Indianapolis Marriott


   Downtown, pursuant to LR49-TR5-203(D), hereby files for an automatic extension of time to


   file its responsive pleading herein, which shall extend the deadline for a responsive pleading to


   April 26, 2019. In support of this Notice, Defendant state:


          1.   Defendant was served via certified mail with Plaintiffs Complaint for Damages on or


               about March 4, 2019 and is presently required to file responsive motions or pleadings


               as early as March 27, 2019.


          2.   Marion County LR49-TR5-203(D) provides that initial motions for enlargement of


               time to respond to a claim shall be automatically allowed for an additional 30 days


               from the original due date without written order of the Court. Marion County LR49-


               TR5-203(D).


          3.   Pursuant to Marion County LR49-TR5-203(D), the time within which Defendant may


               file motions or pleadings in response to Plaintiffs Complaint for Damages in this


               cause shall be automatically enlarged, to and including, April 26, 2019.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 24 of 37 PageID #: 30




                                                 Respectfully submitted,



                                                   /s/ Brett T. Clayton
                                                 Brett T. Clayton (#27062-49)
                                                 REMINGER CO., L.P.A.
                                                 College Park Plaza
                                                 8909 Purdue Road, Suite 200
                                                 Indianapolis, IN 46268
                                                 T: 317-854-8231
                                                 F: 317-228-0943
                                                 bclavton@remin ger. com
                                                 Attorney for Defendant, IMD2, LLC - Improperly
                                                 named as Towne Park - Indianapolis Marriott
                                                 Downtown




                                    CERTIFICATE OF SERVICE


            I hereby certify that the foregoing document has been filed electronically this 14th day of
   March, 2019 via the Court's Electronic Filing System and that notice of this filing will be provided
   to all counsel of record via the Court's Electronic Filing System to:


   Nathan D. Foushee
   KEN NUNN LAW OFFICE
   104 South Franklin Road
   Bloomington, IN 47404


                                                  Is/ Brett T. Clayton
                                                 Brett T. Clayton (#27062-49)
                                                REMINGER CO., L.P.A.




                                                   2
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 25 of 37 PageID #: 31
                                                                                              Filed: 3/21/2019 2:47 PM
                                                                                                                  Clerk
                                                                                              Marion County, Indiana




 STATE OF INDIANA              )                    IN THE MARION SUPERIOR COURT
                               ) SS:
 COUNTY OF MARION              )                    CAUSE NO. 49D1 1-1902-CT-008275


 RONELLA KAY CAMPBELL


        VS.


 TOWNE PARK - INDIANAPOLIS
 MARRIOTT DOWNTOWN and
 CITY OF INDIANAPOLIS




                   PLAINTIFF'S MOTION TO AMEND COMPLAINT
                                    BY INTERLINEATION


        Comes now the plaintiff, by counsel, Ken Nunn Law Office, and amends her Complaint
 for Damages heretofore filed with the Court, as follows:


        1.     The named defendant, Towne Park - Indianapolis Marriott Downtown, is
 replaced with the proper name, IMD2, LLC, both in the caption and in all paragraphs of the
 Complaint.


        All other paragraphs and information contained in plaintiffs complaint heretofore filed
 are adopted herein by reference, including the prayer for relief as set forth at length in
 plaintiffs complaint.


                                       KEN NUNN LAW OFFICE




                                       BY:   /s/ Nathan D. Foushee
                                             Nathan D. Foushee, #24885-49
                                             KEN NUNN LAW OFFICE
                                             104 South Franklin Road
                                             Bloomington, IN 47404
                                             Phone: (812) 332-9451
                                             Fax: (812) 331-5321
                                             E-mail: nathanf@kennunn.com
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 26 of 37 PageID #: 32




                                                -2-


                                 CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing has been provided to opposing party or their
 counsel via the Court's electronic e-mail service and filing system this 21st day of March, 2019.


 Brett T. Clayton, #27062-49
 Reminger Co., LPA
 bclayton@reminger.com




                                           /s/ Nathan D. Foushee
                                           Nathan D. Foushee, #24885-49
                                           KEN NUNN LAW OFFICE
                                           104 South Franklin Road
                                           Bloomington, IN 47404
                                           Phone: (812)332-9451
                                           Fax: (812) 331-5321
                                           E-mail: nathanf@kennunn.com




 Nathan D. Foushee, #24885-49
 Ken Nunn Law Office
 104 South Franklin Road
 Bloomington, IN 47404
 Telephone: 812-332-9451
 Fax Number:    812-331-5321
 Attorney for Plaintiff
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 27 of 37 PageID #: 33
                                                                                              Filed: 3/21/2019 2:47 PM
                                                                                                               Clerk
                                                                                              Marion County, Indiana




 STATE OF INDIANA               )                   IN THE MARION SUPERIOR COURT
                                ) SS:
 COUNTY OF MARION              )                    CAUSE NO. 49D11-1902-CT-008275


 RONELLA KAY CAMPBELL


         VS.


 IMD2, LLC and
 CITY OF INDIANAPOLIS




                    FIRST AMENDED COMPLAINT FOR DAMAGES


         Comes now the plaintiff, Ronella Kay Campbell, by counsel, Ken Nunn Law Office, and
 for cause of action against the defendants, IMD2, LLC and City of Indianapolis, alleges and
 says:



         1.    That on or about September 13, 2018, the plaintiff, Ronella Kay Campbell, was
 walking to Conner's Restaurant at Indianapolis Marriott Downtown located at 350 West
 Maryland Street in Indianapolis, Marion County, Indiana, when she tripped and fell over the
 uneven concrete of the sidewalk, causing the plaintiff to suffer serious injuries.


         2.    That it was the duty of the defendants to use ordinary care and diligence to keep
 and maintain the said premises in a condition reasonably safe for its intended uses and free
 from all defects and conditions which would render the premises dangerous and unsafe for
 plaintiff, or present an unreasonable risk of harm to plaintiff in her lawful use of same.


         3.    The damages claimed are a result of negligence on the part of the defendants as
 follows:


               a.     for negligence in failing to take the proper steps to correct the obvious
                      defects at this location where the above named parties had actual
                      knowledge or notice of a dangerous condition;


               b.     for negligence in design, construction, upkeep, repair and maintenance of
                      this location;


               c.     for negligence in failing to warn pedestrians of any potential hazards
                      including uneven sidewalk and/or walkways;
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 28 of 37 PageID #: 34




                                                  -2-


                d.     for negligence in failing to inspect or discover hazards along a walkway
                       and/or sidewalk;


                e.     for failure to provide a safe walkway and/or sidewalk for the public;


                f.     for failure to warn pedestrians or hazardous, unsafe walkways and/or
                       sidewalks.


        4.      That the aforesaid acts of negligence on the part of the defendants were the
 proximate cause of the injuries sustained by the plaintiff.


        5.     That the plaintiff has incurred medical expenses and other special expenses, and
 will incur future medical expenses, lost wages and other special expenses, as a direct and
 proximate result of defendant's negligence.


        6.     That the plaintiff served Notice of Claim pursuant to I.C. 34-13-3-6, 8, and
 1 0 on or about November 7, 201 8, a copy of which is attached hereto as Exhibit A.


        WHEREFORE, the plaintiff demands judgment against the defendants for permanent
 injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
 and other special expenses, for future medical expenses, lost wages and other special expenses,
 court costs, and all other proper relief in the premises.




                                     KEN NUNN LAW OFFICE




                                     BY:    /s/ Nathan D. Foushee
                                            Nathan D. Foushee, #24885-49
                                            KEN NUNN LAW OFFICE
                                             104 South Franklin Road
                                            Bloomington, IN 47404
                                             Phone: (812) 332-9451
                                             Fax: (812) 331-5321
                                            E-mail: nathanf@kennnnn.com
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 29 of 37 PageID #: 35




                                                -3-


                                 CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing has been provided to opposing party or their
 counsel via the Court's electronic e-mail service and filing system this 21st day of March, 2019.

 Brett T. Clayton, #27062-49
 Reminger Co., LPA
 bclayton@reminger.com




                                           /s/ Nathan D. Foushee
                                           Nathan D. Foushee, #24885-49
                                           KEN NUNN LAW OFFICE
                                           104 South Franklin Road
                                           Bloomington, IN 47404
                                           Phone: (812) 332-9451
                                           Fax: (812)331-5321
                                           E-mail: nathanf@;kennunn.com




 Nathan D. Foushee, #24885-49
 Ken Nunn Law Office
 1 04 South Franklin Road
 Bloomington, IN 47404
 Telephone: 812-332-9451
 Fax Number:    812-331-5321
 Attorney for Plaintiff
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 30 of 37 PageID #: 36
                                                                                             Filed: 3/21/2019 2:47 PM
                                                                                                                  Clerk
                                                                                                 Marion County, Indiana




                                Ken Nunn Law Office
 KEN NUNN                                          Franklin Place                          DEAN ARNOLD
 BRAD SMITH                                l 04 SOUTH FRANKLIN ROAD                         VICKY NUNN
 TROY RIVERA                          BLOOMINGTON, INDIANA 47404-S295                    CHRIS MOELLER
 ROM BYRON                                                                                 MIKE HANLEY
 NATHAN FOUSHEE                            TEL: 1-800-Call-Ken                              RYAN ETTER
 KEVIN DEVILLE                               FAX: (866) 331-5321                         PHILLIP OLSSON
 DANIEL GORE                                                                                 JAMES HURT
                                           November 7, 2018

 Attorney General                                         Mayor, City of Indianapolis
 State of Indiana                                         Office of Corporation Counsel
 302 W. Washington, 5th Floor                             200 E. Washington Street, Suite 1601
 Indianapolis, IN 46204                                   Indianapolis, IN 46204-3372

 Governor, State of Indiana                               Department of Public Works
 206 State House                                          City-County Building, Room 2460
 Indianapolis, IN 46204-2797                              200 East Washington Street
                                                          Indianapolis, IN 46204
 Indiana Dept. of Insurance
 Indiana Political Subdivision                            Marion County
 Risk Management Commission                               Marion County Commissioners
 3 1 1 W. Washington, Suite 300                           City Cty Building, Room 821
 Indianapolis, IN 46204                                   Indianapolis, IN 46204

 President
 Indianapolis City Council
 241 City-County Building
 200 East Washington Street
 Indianapolis, IN 46204


                                     Re:      Notice of Claim


 Dear Sir or Madam:


        You are hereby notified, pursuant to the requirements of the Indiana Tort Claims Act,
 I.C. 34-13-3-6 and I.C. 34-13-3-8, that Ronella K. Campbell and Gary Campbell, individually
 and as husband and wife, intend to take legal action to claim compensation from Marion
 County, Marion County Department of Public Works, Marion County Commissioners, the City
of Indianapolis, Indianapolis City Council, and the State of Indiana for damages for loss
suffered by them based on the following statement of facts, circumstances and occurrences:


        1.       The incident occurred on or about September 13, 2018.


       2.    The basic facts of the incident are Ronella Kay Campbell was walking to
Conner's Restaurant, that is connected/affiliated with Indianapolis Marrott Downtown Hotel,
located at 350 West Maryland Street, Indianapolis, IN, when she tripped and fell over uneven
concrete on the sidewalk. Ronella Kay Campbell suffered a fractured and dislocated left arm.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 31 of 37 PageID #: 37




                                                  -2-

        3.    The claimant, Ronella Kay Campbell, ha incurred medical expenses and lost
 wages as a result of the incident and will incur future medical expenses and lost wages. The
 claimant, Ronella Kay Campbell, has also experienced physical pain and mental suffering and
 will experience physical pain and mental suffering in the future.


        4.    The claimant, Gary Campbell, has suffered a loss of his wife's services, society
 and companionship as a result of Ronella Kay Campbell's injuries.


        5.    The damages claimed are a direct result of partial negligence on the part
 of Marion County, Marion County Department of Public Works, Marion County
 Commissioners, the City of Indianapolis, Indianapolis City Council, and the State of Indiana, as
 follows:


               a.     for negligence in failing to take the proper steps to correct the obvious
                      defects at this location where the above named parties had actual
                      knowledge or notice of a dangerous condition;


               b.     for negligence in design, construction, upkeep, repair and maintenance of
                     this location;


               c.     for negligence for lack of positive guidance at this location;


              d.     for negligence in failing to warn pedestrians of any potential hazards
                     including uneven sidewalk and/or walkways;


              e.     for negligence in failing to inspect or discover hazards along a walkway
                     and/or sidewalk;


              f.     for failure to provide a safe walkway and/or sidewalk for the public;


              g-     for failure to warn pedestrians or hazardous, unsafe walkways and/or
                     sidewalks.


       6.    Claimants seek damages equal to the statutory maximum amount.


       7.    Persons involved known to the claimant are:


              a.     City of Indianapolis, Indiana;


              b.     Indianapolis City Council;


              c.     State of Indiana;
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 32 of 37 PageID #: 38




                                               -3-

              d.     Marion County;


              e.     Marion County Commissioners;


              f.     Indianapolis Marriott Downtown.


        8.   At the time of the incident and presently, the claimants were and are residents of
 Perry, Houston County, Georgia.


                                          Sincerely,
                                          KEN NUNN LAW OFFICE




                                         BY:     Ken Nunn
                                                 Attorney at Law


 KLN:jz
 Enc.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 33 of 37 PageID #: 39
                                                                                          Filed: 3/25/2019 5:46 PM
                                                                                                           Clerk
                                                                                          Marion County, Indiana




    STATE OF INDIANA             )                       IN THE MARION SUPERIOR COURT
                                 ) SS:
    COUNTY OF MARION             )                       CAUSE NO. 49D11-1902-CT-008275

    RONELLA KAY CAMPBELL,                                )
                                                         )
                 Plaintiff,                              )
                                                         )
          v.
                                                         )
                                                         )
    TOWNE PARK - INDIANAPOLIS
                                                         )
    MARRIOT DOWNTOWN and                                 )
    THE CITY OF INDIANAPOLIS,                            )
                                                         )
                 Defendants.                             )

                                             Appearance

    I.   Party: Responding


         The undersigned attorneys appear in this case for the following parties:


         The City of Indianapolis


   2.    Attorney information for service as required by Trial Rule 5(B)(2):


                 Name:          Andrew J. Upchurch (30174-49)
                 Address:       200 East Washington Street, Suite 1601
                                Indianapolis, IN 46204
                 Phone:         (317) 327-4055
                 Fax:           (317)327-3968
                 Email:         andrew.upchurch@indv.tzov

                 Name:          Tara L. Gerber (31717-49)
                Address:        200 East Washington Street, Suite 1601
                                Indianapolis, IN 46204
                 Phone:         (317) 327-4055
                 Fax:           (317)327-3968
                Email:          tara.gerbcr@indv.gov



   3.    This is a "CT" case type as defined in Administrative Rule 8(B)(3).


  4.     I will not accept service from other parties by FAX or E-mail.


  5.     This case does not involve child support issues.
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 34 of 37 PageID #: 40




    6.    This case does not involve a protection from abuse order, a workplace violence restraining
          order, or a no-contact order.


    7.    This case does not involve a petition for involuntary commitment.


   8.     There are no individuals subject to a petition for involuntary commitment.


   9.     The appearing attorneys are not aware of related cases.


   10.    There is no additional information required by local rule.


   1 1.   The appearing attorneys are not aware of other party members.


   12.    This form has been served on all other parties and Certificate of Service is attached.


                                                          Respectfully submitted,




                                                          Isi Andrew J. Upchurch
                                                          Andrew J. Upchurch (30174-49)
                                                          Deputy Chief Litigation Counsel
                                                          Office of Corporation Counsel
                                                          200 E. Washington Street, Suite 1601
                                                          Indianapolis, IN 46204
                                                          Phone: 317-327-4055
                                                          Fax: 317-327-3698
                                                          Email: andrew.UDchurch@indv.uov




                                                      2
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 35 of 37 PageID #: 41




                                   CERTIFICATE OF SERVICE

           I certify that on March 25, 2019 a copy of the foregoing was filed electronically.


    Service of this filing will be made on Registered Users via the Indiana E-Filing System.


           Nathan D. Foushee
           KEN NUNN LAW OFFICE
           104 South Franklin Road
           Bloomington, IN 47404
          nathanf@,kennunn . com


          Brett T. Clayton
          REMINGER CO., L.P.A.
           College Park Plaze
          8909 Purdue Rd
          Suite 200
          Indianapolis, IN 46268
          bclavton@reminger.com




                                                        /s/ Andrew J. Unchurch
                                                        Andrew Upchurch (30174-49)
                                                        Deputy Chief Litigation Counsel




   Office of Corporation Counsel
   200 E. Washington Street, Suite 1601
   Indianapolis, IN 46204
   Phone: 317-327-4055
   Fax: 317-327-3698
   Email: andrew.upchurch@indv.gov




                                                    3
Case 1:19-cv-01330-SEB-TAB Document 1-1 Filed 04/02/19 Page 36 of 37 PageID #: 42
                                                                                               Filed: 3/25/2019 5:50 PM
                                                                                                                  Clerk
                                                                                               Marion County, Indiana




    STATE OF INDIANA             )                      IN THE MARION SUPERIOR COURT
                                 ) SS:
   COUNTY OF MARION              )                      CAUSE NO. 49D1 1-I902-CT-008275


   RONELLA KAY CAMPBELL,                               )
                                                       )
                  Plaintiff,                           )
                                                       )
          v.
                                                       )
                                                       )
   TOWNE PARK - INDIANAPOLIS                           )
   MARRIOT DOWNTOWN and                                )
   THE CITY OF INDIANAPOLIS,                           )
                                                       )
                  Defendants.                          )

                           Initial Written Motion for Enlargement of Time


          The City of Indianapolis, by counsel, moves for an initial enlargement of time to respond


   to Plaintiffs Complaint pursuant to Marion County Local Rule 203(D). Under Local Rule


   203(D), the City's response deadline may be automatically extended 30 days without a written


   order. The City received Plaintiffs Complaint on March 5, 2019. Its response is due March 25,


   2019. Under this enlargement, the City's response deadline is extended to April 24, 2019.


                                                       Respectfully submitted,




                                                       /s/ Andrew J. Upchurch
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                                   CERTIFICATE OF SERVICE

           I certify that on March 25, 2019 a copy of the foregoing was filed electronically.


    Service of this filing will be made on Registered Users via the Indiana E-Filing System.


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